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                    THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

   MATTHEW N. FULTON, DDS, P.C.,               Case No. 16-CV-13777
   individually and as the representative of
   a class of similarly-situated persons,

                        Plaintiff,
                                               Chief District Judge Denise Page Hood
   v.                                          Magistrate Judge R. Steven Whalen

   ENCLARITY, INC., LEXISNEXIS                 PUTATIVE CLASS ACTION
   RISK SOLUTIONS INC.,
   LEXISNEXIS RISK SOLUTIONS GA
   INC., LEXISNEXIS RISK
   SOLUTIONS FL INC., and JOHN
   DOES 1-12,
                   Defendants.


        DEFENDANTS’ MOTION TO EXCLUDE CERTAIN OPINIONS OF
              PLAINTIFF’S EXPERT WITNESS LEE HOWARD

         Defendants Enclarity, Inc.; LexisNexis Risk Solutions Inc.; LexisNexis Risk

  Solutions GA Inc.; and LexisNexis Risk Solutions FL Inc. (collectively,

  “Defendants”) move this Court for an Order excluding certain opinions of

  Plaintiff’s proffered expert witness Lee Howard. The reasons for this Motion are

  set forth in the accompanying Memorandum in Support. Pursuant to LR 7.1(a), the

  undersigned counsel certifies that parties met and conferred regarding the issues

  presented herein on February 18, 2022, and Plaintiff indicated it would oppose this

  motion.



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   Dated: February 22, 2022         MORRISON & FOERSTER LLP


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        MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO
            EXCLUDE CERTAIN OPINIONS OF PLAINTIFF’S
                 EXPERT WITNESS LEE HOWARD

                                ISSUES PRESENTED

         Whether Plaintiff’s proffered expert witness, Lee Howard, must be excluded

  by this Court from offering expert witness testimony (i) that an unverified and

  unauthenticated data column called “Deliveries” somehow reliably demonstrates

  the number of successfully delivered faxes and (ii) that all faxes, including faxes

  received via an online fax service, are necessarily received on a “telephone

  facsimile machine” encompassed by the Telephone Consumer Protection Act

  (“TCPA”).




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                          CONTROLLING AUTHORITY

         Federal Rule of Evidence 702, Daubert v. Merrell Dow Pharmaceuticals,

  Inc., 509 U.S. 579 (1993), as well as case law discussed below, compel exclusion

  of Howard’s opinions.




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         I.    INTRODUCTION

         Plaintiff’s Motion for Class Certification (“Motion”) relies on opinions

  offered by Plaintiff’s expert Lee Howard (“Howard”) that should be excluded as

  unsupported, speculative, and unreliable or contrary to the law.

         First, Howard’s opinion that Plaintiff’s Class List identifies

  successful fax transmissions relies solely on summary data provided by a

  third party, Scrypt, Inc., to Enclarity, Inc. There is no evidence to support

  Howard’s speculative conclusion that this data represents successfully delivered

  faxes, and there is no witness—including Scrypt itself—who could provide

  information about how the data was created or verify its accuracy. Howard’s

  “opinion” amounts to nothing more than speculation regarding the data. Howard

  attempts to mask his speculation by asserting that the numbers identified in a

  column of data supposedly represent “data that experts in this field would rely on,”

  but in a recent decision affirmed by the Sixth Circuit, the court rejected this

  strategy and excluded Howard’s nearly identical opinion in another TCPA class

  action.

         Second, Plaintiff’s Motion also relies on the erroneous opinion that all faxes

  on the Class List, including those received via an online fax service (“OFS”), were

  received on a “telephone facsimile machine” under the TCPA. Howard’s opinion

  regarding the scope of a “telephone facsimile machine” should be excluded


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  because it contradicts the law established in a Federal Communications

  Commission ruling.

         Because Plaintiff relies on Howard’s opinions regarding “successful

  transmissions” and the scope of a “telephone facsimile machine” in attempting to

  satisfy the rigorous requirements for class certification, a Daubert analysis of

  Howard’s opinions is appropriate at this stage—and reveals that Howard’s

  opinions are too unreliable and speculative and must be excluded.1

         II.    PROCEDURAL HISTORY

         On September 30, 2021, Plaintiff served the first report of their expert Lee

  Howard. (Ex. 6.) On November 19, 2021, Defendants served a rebuttal report of

  James Bress in response to certain of Howard’s opinions. (Ex. 5.) On December

  22, 2021, Plaintiff served a (Supplemental Rebuttal) Expert Report of Lee Howard.

  (Ex. 13.) On January 18, 2022, Plaintiff filed its Motion for Class Certification.

  (ECF No. 115.) On January 25, 2022, Defendants filed a motion for summary

  judgment. (ECF No. 118.)

         III.   FACTUAL BACKGROUND

                A.    Howard Relies on Data Provided by Third-Party Scrypt.

         Enclarity retained a third party called Scrypt to send Verified Secure Faxes



  1
   Defendants’ motion is directed at certain of Howard’s opinions relied upon by
  Plaintiff in its class certification motion, but Defendants reserve all rights to file
  future motions to exclude Plaintiff’s expert’s opinions at the appropriate time.
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  (“VSF Faxes”) to certain healthcare providers (“HCPs”) to request verification of

  the fax numbers that could be used to send confidential patient information to those

  HCPs. (Ex. 1 at 10:8-10; see ECF No. 118 at 4-5.) Scrypt used an online faxing

  solution called Sfax that was custom-built for Enclarity to send the VSF Faxes.2

  (Ex. 1 at 9:9-23, 20:6-21:17, 22:12-20.) In response to Plaintiff’s discovery

  requests, Enclarity extracted and produced data from a database called

  in the form of summary spreadsheets (which Plaintiff refers to as “Transmission

  Data”). (Ex. 2 at 11:24-12:4, 14:8-11, 51:10-16.) As explained by Enclarity’s

  Manager of Data Engineering, Alan Bergman,




                                              (id. at 18:2-4, 19:10-13, 31:16-22)




               (id. at 32:5-16, 107:8-23),



                                                             (id. at 32:24-33:8)




  2
   Scrypt, Inc. was previously known as SecureCare Technologies, Inc. The parties
  have referred to “Scrypt” and “Sfax” interchangeably to refer to the entity.


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  (Ex. 2 at 49:6-25 (objections omitted).)

                                             (Id. at 133:12-134:22.)

                      3.     Scrypt’s Testimony does not Support Howard’s
                             Opinion.

         Given that Enclarity could not authenticate or attest to the reliability of data

  imported from Sfax, Plaintiff served several subpoenas on Scrypt and filed a

  motion to compel in the Western District of Texas, which was denied. Fulton v.

  Scrypt, Inc., Case No. 1:21-mc-00670-LY (W.D. Tex. 2021). Scrypt did not locate

  or produce any documents in this litigation. (Ex. 1 at 32:18-33:10.)

         Plaintiff ultimately took a deposition of Scrypt’s corporate representative,

  Aleks Szymanski, on September 17, 2021. (Id. at 7:8-11.) Mr. Szymanski testified

  that the Sfax application custom built for Enclarity did not have the same levels of

  functionality that the mainstream Sfax product had, and he had no knowledge of

  whether the Sfax Enclarity system had the ability to track whether faxes were

  successfully delivered. (Id. at 21:12-22:3.) The Scrypt representative provided no

  information about the technology or functionality of the Sfax system used for

  Enclarity. (Id. at 21:18-22:20, 33:18-25, 39:3-10.) Mr. Szymanski also could not

  authenticate or provide any information about any reports Sfax created that were

  downloadable by Enclarity. (Id. at 25:16-21.) Mr. Szymanski could not explain

  how any data that Sfax itself would have compared to any data that Enclarity might

  have downloaded. (Id. at 32:18-33:10.) When questioned regarding the accuracy

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                    (Id. at 147:7-16, 150:3-19.) Howard’s opinion, however,

  directly contradicts a declaratory ruling issued by the Federal Communications

  Commission, the agency with delegated authority to interpret the TCPA. In the

  Matter of Amerifactors Fin. Grp., LLC Petition for Expedited Declaratory Ruling;

  Rules & Reguls. Implementing the Tel. Consumer Prot. Act of 1991 Junk Fax Prot.

  Act of 2005, 34 FCC Rcd. 11950, 11950-51, ¶ 3 (Dec. 9, 2019) (“Amerifactors”);

  see also 47 C.F.R. § 1.2 (FCC regulation implementing agency’s authority to issue

  declaratory ruling).)



                                                                         (Ex. 4 at

  158:8-13.)



                                                                          (Ex. 13

  ¶ 18.)

                                          (Ex. 7 at 294:15-21, 296:12-18), this

  opinion was presented to the FCC in the comments submitted before the FCC

  issued its Amerifactors ruling. See Request for Comment on Amerifactors Fin.

  Grp., LLC Petition for Expedited Declaratory Ruling under the TCPA of 1991, DA

  19-1247 (Dec. 9, 2019); see Robert Biggerstaff, Reply Comments In the Matter of

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  2017), https://www.fcc.gov/ecfs/filing/10902271392966 (“Biggerstaff Reply

  Comments”). After considering comments reflecting Howard’s opinion, the FCC

  rejected that opinion in finding that OFS do not have the capacity to print and are

  not “telephone facsimile machines” encompassed by the TCPA.

         IV.   LEGAL STANDARD

         To be admissible under Federal Rule of Evidence 702, an expert’s opinion

  must be both reliable and helpful to the trier of fact. Daubert, 509 U.S. at 597.

  Rule 702 places a special obligation on the trial court to act as a gatekeeper,

  ensuring that “any and all scientific testimony or evidence admitted is not only

  relevant, but reliable.” Lyngaas v. Curaden AG, 2019 U.S. Dist. LEXIS 201986, at

  *40 (E.D. Mich. Nov. 21, 2019) (“Lyngaas I”) (quoting Daubert, 509 U.S. at 589),

  judgment entered, 436 F. Supp. 3d 1019 (E.D. Mich. 2020), aff’d sub nom.

  Lyngaas v. Curaden AG, 992 F.3d 412 (6th Cir. 2021) (“Lyngaas II”).

         Experts are permitted to testify “on the basis of hearsay or unadmitted

  evidence, as long as the evidence is of a kind reasonably relied upon by experts in

  the particular field.” Id. at *41 (quoting United States v. Bonds, 12 F.3d 540, 566

  (6th Cir. 1993)). An expert opinion must be supported by “good grounds” that are

  based on what is “known,” not unsupported speculation. Daubert, 509 U.S. at 590.

         The Sixth Circuit has held that “when considering expert testimony which is

  offered to inform the Court’s Rule 23 analysis, the Court does not abuse its


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  discretion by invoking the familiar Daubert framework to evaluate whether the

  expert’s opinion is sufficiently reliable and informative to be considered.” In re

  FCA US LLC Monostable Elec. Gearshift Litig., 382 F. Supp. 3d 687, 691 (E.D.

  Mich. 2019) (citing In re Carpenter Co., 2014 U.S. App. LEXIS 24707, at *3 (6th

  Cir. Sept. 29, 2014)); see also Schechner v. Whirlpool Corp., 2019 U.S. Dist.

  LEXIS 31704, at *9 (E.D. Mich. Feb. 28, 2019) (“The Sixth Circuit has held that a

  district court does not abuse its discretion in applying Daubert to critical expert

  witnesses” at the class certification stage.) (citing In re Carpenter, 2014 U.S. App.

  LEXIS 24707, at *10-11). Daubert review at the class certification stage is aimed

  at determining “whether the testimony and reports can be relied upon to establish

  that [the plaintiffs’] claims are proper for class adjudication.” In re Flint Water

  Cases, 2021 U.S. Dist. LEXIS 165251, at *175-77 (E.D. Mich. Aug. 31, 2021)

  (striking portion of expert’s report at class certification stage because it was

  improper speculation); see also In re Behr Dayton Thermal Prods., LLC, 2015 U.S.

  Dist. LEXIS 194279, at *23-24 (S.D. Ohio Feb. 27, 2015) (“at the class

  certification stage, the relevant inquiry is ‘whether an expert’s opinion [is]

  sufficiently reliable to admit for the purpose of proving or disproving Rule 23

  criteria, such as commonality and predominance’”) (citation omitted).




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         V.    ARGUMENT

               A.     A Daubert Analysis of Howard’s Opinions Is Appropriate at
                      the Class Certification Stage.

         Because Plaintiff relies on Howard’s opinions regarding “successful

  deliveries” and OFS in its attempt to certify a class, a Daubert analysis of those

  opinions is appropriate at the class certification stage.

         The only evidence that Plaintiff has provided of successful transmissions of

  the faxes on its Class List is Howard’s bare opinion that all faxes were successfully

  delivered. (See ECF No. 115 at 3.) This opinion, however, is too speculative to be

  considered at the class certification stage. In re FCA US LLC Monostable Elec.

  Gearshift Litig., 382 F. Supp. 3d at 691 (Daubert analysis at class certification

  stage is appropriate “to evaluate whether the expert’s opinion is sufficiently

  reliable and informative to be considered”). Because this opinion serves as the

  foundation for Plaintiff’s attempts to satisfy several requirements for class

  certification—including standing, numerosity, and predominance—and is also

  required to establish the ascertainability of the proposed class, the Court should

  evaluate now whether this opinion is too unreliable to satisfy Plaintiff’s burden at

  class certification. (See Defs.’ Opp. to Pl.’s Mot. for Class Certification (“Opp.”),

  ECF No. 125.) Without any reliable evidence to establish the successful receipt of

  all the faxes on its putative Class List, Plaintiff’s class cannot be certified. See,

  e.g., Innovative Acct. Sols., Inc. v. Credit Process Advisors, Inc., 335 F.R.D. 106,

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  114 (W.D. Mich. 2020) (a plaintiff “whose telephone number was used to

  successfully transmit an unsolicited fax advertisement can bring a TCPA claim”)

  (emphasis added).

         Because the only evidence supporting Plaintiff’s conclusion that the data

  shows successful fax deliveries is Howard’s opinion, the “admissibility of this

  testimony is not only ‘critical to class certification,’ it is likely dispositive.”

  Kondash v. Kia Motors Am., Inc., 2020 U.S. Dist. LEXIS 181733, at *17 (S.D.

  Ohio Sept. 30, 2020) (citation omitted). Accordingly, conducting a Daubert

  analysis of this opinion is appropriate at the class certification stage. For example,

  in Kia Motors, the court addressed motions to exclude expert opinions that were

  “critical to the question of class certification” because the experts opined regarding

  class-wide defects in order to establish the predominance requirement of

  Rule 23(b)(3). Id. at *19. The court excluded the testimony of both experts as

  unreliable and speculative, and denied class certification because without the

  expert testimony, the plaintiffs failed to establish predominance. Id. at *36; see

  also In re Behr Dayton Thermal Prod., 2015 U.S. Dist. LEXIS 194279, at *24-25

  (setting Daubert hearing to address whether expert’s “opinion is sufficiently

  relevant and reliable for purposes of establishing Rule 23 criteria” where expert’s

  opinion was crucial because it provided the “sole basis” for the plaintiffs’ claim of

  class-wide damages).


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         Likewise, Plaintiff relies on Howard’s opinion regarding whether

  cloud-based fax services have the capacity to print in an attempt to avoid the

  individualized inquiries necessary to establish that all class members received a fax

  on a “telephone facsimile machine.” (ECF No. 115 at 22-23.) The Court should

  thus evaluate the reliability of these opinions in determining whether Plaintiff has

  satisfied its burden of establishing all required elements for class certification.

               B.     Howard’s Testimony Regarding Deliveries Is Inadmissible
                      Because It Is Unreliable and Unpersuasive.
         Howard’s opinion that the Transmission Data is accurate and represents the

  number of successful fax deliveries is based entirely on speculation. Not only does

  the record fail to support Howard’s speculation, it directly undermines his

  opinions. Howard’s purported “analysis” of the data consisted entirely of

  reviewing the Sfax Data, comparing it to other reports purportedly with this “type

  of data,” and then simply concluding that the data is accurate and conveys

  something it does not. In fact, another court has already excluded similar opinions

  proffered by Howard in another fax TCPA case based on a strikingly similar

  report. Lyngaas I, 2019 U.S. Dist. LEXIS 201986, at *39. The court specifically

  found that “Howard’s testimony does not meet the standards of reliability under

  Daubert, nor is the testimony persuasive.” Id. The Sixth Circuit affirmed the




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         In Lyngaas, the defendant had hired a third party to send the faxes at issue,

  which in turned hired another third party to do so. Lyngaas I, 2019 U.S. Dist.

  LEXIS 201986, at *5. The court excluded Howard’s conclusion regarding

  successful transmissions because “Howard did not review any information

  establishing that the [fax sender’s] software and equipment was in good working

  order . . . ; that the proper procedures were implemented in programming and

  operating the equipment on those dates; or that the software was regularly tested

  for programming errors.” Id. at *47. The same is true here.




                     (See Ex. 4 at 133:3-19.) Not only is there no reference to MCF

  signals in the data, there is no evidence that Scrypt ever confirmed that its data

  recorded “that that was a successful fax.” There is no evidence in the record

  showing that the Sfax equipment was in working order, that the software was

  tested, that the procedures were implemented in programming and operating the

  equipment throughout the class period, or even how the Sfax Data sent from Sfax

  to Enclarity was created. (See supra, Section III.B.3; Ex. 5 at 13-18.) Because

  there is no witness knowledgeable about the Sfax Data, nor a shred of evidence

  regarding how it was created or whether it was accurate, there is no evidence

  showing that this data is reliable. See Fed. R. Evid. 703; Lyngaas I, 2019 U.S.


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  Dist. LEXIS 201986, at *48 (“even if an expert is entitled to rely on otherwise

  inadmissible evidence, courts must nevertheless ensure that the data underlying the

  expert’s opinion is reliable”).

         Howard also




                      (Ex. 4 at 192:5-193:7, 195:1-200:23; see also Ex. 7 at

  307:22-25, 311:8-11, 317:9-12.) Here, as in Lyngaas, there is no foundation for

  Howard to conclude that the Sfax Data is accurate or reliable. Lyngaas I, 2019

  U.S. Dist. LEXIS 201986, at *41-42 (Howard “lacks any knowledge regarding the

  exact system or process used to create the logs or the accuracy of the results.”).9




  9
    Howard’s reliance on 12 returned VSF Faxes also does not support his conclusion
  that all faxes on the Class List were successfully delivered. (See supra,
  Section III.B.4.) Not only are those documents unauthenticated and inadmissible,
  but these fax numbers and individuals are not on Plaintiff’s putative Class List.
  (See supra, n.4 & Section III.B.4.) In any event, 12 allegedly returned faxes over a
  four-year period are inadequate to support a conclusion that the Class List includes
            successfully transmitted faxes. (ECF No. 115 at 3; see Ex. 5 at 15.)
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                                 (Ex. 6 ¶ 39.) The “T.30 describes how faxes are

  transmitted but not how summary report logs are created.” Lyngaas I, 2019 U.S.

  Dist. LEXIS 201986, at *47. “[I]t does not describe how a successful transmission

  is recorded and whether that process is reliable.” Id. (See Ex. 4 at 141:15-21



         Howard’s testimony regarding deliveries is therefore neither admissible nor

  persuasive. 2019 U.S. Dist. LEXIS 201986, at *49 (“Even if Howard’s testimony

  were admissible, it would not be persuasive.”). As in Lyngaas, “Howard’s

  conclusions regarding the number of faxes successfully sent are premised entirely

  on his evaluation of the summary report logs”—and the accuracy and reliability of

  the data has not been, and cannot be, verified. Id. at *50-51; see also Lyngaas II,

  992 F.3d at 431 (“because of the lack of testimony describing how the report logs

  were created or having anyone vouch for their accuracy, Howard’s opinions

  regarding the logs were both speculative and unpersuasive”).

                     2.     Howard Cannot Establish the Reliability of the Data
                            based on Assumptions and Speculation.

         Faced with the same lack of foundation regarding the data here as he did in

  Lyngaas, Howard resorts to assumptions and speculation.



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                                                                  (Ex. 6 ¶ 26.)

  Howard’s conclusory assertion is plainly insufficient. As the Lyngaas court held,

  “[a] summary report log is not inherently reliable simply because that type of

  document is commonly relied upon by experts.” Lyngaas I, 2019 U.S. Dist.

  LEXIS 201986, at *48. Indeed, Howard’s reliance on the “Deliveries” field in this

  case is even more suspect than in Lyngaas because, as Howard conceded,



                            (Ex. 4 at 188:1-15; Ex. 7 at 310:24-311:7.) Thus,

  contrary to Howard’s unsupported assertion that it is the “type of

  document . . . commonly relied upon by experts,”

                                                     —and here, the record regarding

  this specific data does not support Howard’s speculation that it accurately

  represents successful transmissions. (Ex. 5 at 12-18.)




                         (Ex. 6 ¶ 24; see also Ex. 4 at 138:14-139:8

                                           Plaintiff’s assumption of automation based

  on how the spreadsheets “look” cannot authenticate the data. Even in Lyngaas,

  where the third-party fax broadcaster testified that the logs were “automatically


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  generated,” the court found that the plaintiff could not authenticate the data

  because it could not establish any factor of Federal Rule of Evidence 901(b)(9) if

  there was no evidence describing the process or system by which the data was

  created. Lyngaas I, 2019 U.S. Dist. LEXIS 201986, at *29. The third-party

  testimony was “insufficient to establish that the system or process by which those

  statements are made is reliable and accurate” because although the third party

  stated the logs were automatically generated, it “did not testify regarding how they

  were automatically generated” and “had no personal knowledge of the process by

  which the summary report logs were generated or whether the information

  contained in the logs was accurate.” Id. at *33.

         Here, there is even less evidence that would enable authentication of the

  data. There is no evidence regarding how the Sfax Data was generated at all, much

  less that it was “automatically generated.” Howard merely asserts that



                (Ex. 6 ¶ 24; see Ex. 7 at 318:20-319:20



                  But, “[t]his reasoning is unpersuasive, as it relies on Howard’s

  speculation and his general experience with summary report logs as opposed to

  evidence regarding the reliability of the logs presently at issue.” Lyngaas I, 2019

  U.S. Dist. LEXIS 201986, at *47-48; see also Lyngaas II, 992 F.3d at 431 (“By not


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  presenting anyone to attest as to how the logs at issue were created or to personally

  vouch for their accuracy, Lyngaas failed to satisfy the requirements of Rule 901.”).




                                                   (Ex. 6 ¶ 37), Howard provides no

  page citations for any of his characterizations of the witness testimony. In fact,

  these witnesses did not provide the testimony Howard claims they did.

  Mr. Bergman testified he had no way to test the accuracy of the data.



                                                                               (Ex. 2

  at 134:23-25) and did not identify any other Enclarity employee who regularly

  reviewed the “Deliveries” data from Sfax. Moreover, Scrypt’s witness testified

  that “[t]here were bound to be complaints” from clients about the accuracy of the

  Scrypt data. (Ex. 1 at 25:23-26:19.) Indeed, Scrypt also acknowledged potential

  errors in the data, given that “[t]here were bound to be occasions when faxes were

  considered to be delivered and they weren’t, or vice versa.” (Id. at 26:21-27:14;

  see also id. at 29:6-20 (when repeatedly asked if Enclarity complained about “bad

  delivery data,” the Scrypt representative testified that he “wasn’t involved in the

  customer relationship with Enclarity”).)




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         Thus, as it was in Lyngaas, Howard’s opinion that all faxes on Plaintiff’s

  Class List represent successfully delivered faxes must be excluded.10

               C.     Howard’s Opinion That All Faxes, Even Those Received on
                      an OFS, Are Received on a ‘Telephone Facsimile Machine’
                      Is Contrary to Law.
         In an attempt to avoid the individualized inquiries required to identify which

  class members received a fax on a “telephone facsimile machine,”




                        (Ex. 6 ¶ 23; Ex. 4 at 145:17-146:6; see Opp.) But Howard’s

  opinion contradicts the law. On December 9, 2019, the FCC issued a declaratory

  ruling clarifying that “an online fax service that effectively receives faxes ‘sent as

  an email over the Internet’ and is not itself ‘equipment which has the capacity . . .

  to transcribe text or images (or both) from an electronic signal received over a



  10
     Although the Lyngaas court considered the fax transmission reports at the class
  certification stage, despite later determining that they were inadmissible, this Court
  should evaluate the reliability of Howard’s testimony in conducting its rigorous
  analysis at class certification. The summary report logs in Lyngaas contained more
  detail about the transmission results—including a “result” field, “e.g., sent, busy,
  connection interrupted, invalid number, no answer.” Lyngaas I, 2019 U.S. Dist.
  LEXIS 201986, at *27. Here, in contrast, the data on its face does not purport to
  include “results” information that might provide more support for a successful
  transmission than the bare digits in the “Deliveries” field here. Moreover, given
  that another court (affirmed by the Sixth Circuit) has already excluded a nearly
  identical opinion from Howard that contained the same flaws, it would not promote
  judicial efficiency to ignore those flaws now, only to exclude the opinions at trial.
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  telephone line onto paper,’ is not a ‘telephone facsimile machine,’ and thus falls

  outside the scope of the statutory prohibition.” Amerifactors, 34 FCC Rcd. at

  11950-51, ¶ 3 (emphasis added). The FCC reasoned that “interpreting the TCPA

  to mean that every ‘computer’ or ‘other device’ is a telephone facsimile machine,

  merely because it could be connected to a printer, directly or indirectly, would be

  [an] overly broad and . . . impermissibly expansive application of the TCPA[.]” Id.

  at 11954, ¶ 13 n.33. Moreover, in ruling that an OFS is not a “telephone facsimile

  machine,” the FCC found that an OFS “cannot itself print a fax—the user of an

  online fax service must connect his or her own equipment in order to do so.” Id. at

  11953, ¶ 11.



                            (Ex. 7 at 296:12-18), Howard’s position was expressed in

  a comment submitted by another expert frequently appearing in TCPA fax cases.

  See Biggerstaff Reply Comments at 4 (“each [fax server] has the capacity to

  print”).11 After considering the record, the FCC rejected Howard’s position, ruling

  that OFS are not “telephone facsimile machines” covered by the TCPA. Thus,

  Howard’s opinion that all fax receiving equipment has the capacity to transcribe



  11
    Howard also expressed disagreement with other statements from the FCC’s
  Amerifactors ruling. (Ex. 6 ¶¶ 19-23.) Though Howard may disagree with the
  FCC, the Amerifactors ruling is entitled to deference by the Court and applies to
  conduct that occurred prior to its issuance. (Opp. at 12-15.)
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  the image to paper is improper because it contradicts a declaratory ruling by the

  FCC, and should be excluded. See Nationwide Transp. Fin. v. Cass Info. Sys., Inc.,

  523 F.3d 1051, 1063 (9th Cir. 2008) (holding that “a party is not entitled to present

  evidence on an erroneous or inapplicable legal theory to the jury” and excluding

  expert testimony in part because it was an erroneous statement of law); Bona Fide

  Conglomerate, Inc. v. SourceAmerica, 2019 U.S. Dist. LEXIS 50949 (S.D. Cal.

  Mar. 26, 2019) (excluding expert testimony in part because expert’s legal

  interpretation was incorrect).

         VI.   CONCLUSION

         Defendants respectfully request that the Court exclude Howard’s opinions

  (i) regarding alleged successful deliveries of all faxes listed on Plaintiff’s Class

  List and (ii) that all faxes, including faxes received via an OFS, are necessarily

  received on a “telephone facsimile machine” encompassed by the TCPA.



   Dated: February 22, 2022           MORRISON & FOERSTER LLP


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                            CERTIFICATE OF SERVICE

         The undersigned is an attorney of record in this case and certifies that on

  February 22, 2022, the foregoing paper was served via electronic filing on

  Plaintiff’s counsel of record.




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